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UNITED STATES DISTRICT COURT NOV ~4 2020

FOR THE DISTRICT OF COLUMBIA Clerk, U.S. District and

Bankruptcy Courts 4

DONNA M. CONNOR, )
)
Plaintiff, )
)

V. ) Civil Action No. 20-3014 (UNA)
)
)
COMMONWEALTH OF VIRGINIA ef al., )
)
Defendants. )
MEMORANDUM OPINION -

Plaintiff, appearing pro se, has submitted a Complaint and an application to proceed in
forma pauperis, The Court will grant the application and will dismiss this case for lack of subject
matter jurisdiction. See Fed. R. Civ. P. 12(h)(3) (requiring dismissal of an action “at any time” the
Court determines that it lacks subject matter jurisdiction).

Plaintiff is a Virginia resident who has sued the Commonwealth of Virginia. She alleges
that her trust in Virginia’s justice system is broken “due to an inability to grant for the last twenty
years relief, correction, and a right to feel protected when informing of crimes within my state
and federal court cases and complaints.” Compl. at 1. Plaintiff therefore brings this action “before
the United States District Court in DC under the fourteenth, thirteenth and ninth amendments[.]”
Id. A generous reading of the complaint suggests that Plaintiff is dissatisfied with state court
proceedings in which she was a party. See id. at 15 (“The Commonwealth of Virginia legal and
justice system has allowed assault after assault designed to hinder and block my right to succeed,
to financial prosperity. The awful decisions by the Commonwealth of Virginia judges covering

many issues in my court cases such as employment, stalking, serious violations of my privacy,
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unlawful entry, poisons of food, medicines and persons, prevalent theft, damage to property and
just an all-out bold brazen assault to destroy has left me mentally and physically damaged.”).

The Eleventh Amendment to the U.S. Constitution immunizes a State from suit in federal
court, unless immunity is waived.' Plaintiff has not come close to demonstrating Virginia’s
waiver of immunity. See Khadr v, United States, 529 F.3d 1112, 1115 (D.C. Cir. 2008) (“[T]he
party claiming subject matter jurisdiction... has the burden to demonstrate that it exists.”)
(citation omitted)). Furthermore, this federal district court lacks authority to review the decisions
of the Virginia courts. See United States v. Choi, 818 F. Supp. 2d 79, 85 (D.D.C. 2011) (district
courts “generally lack[] appellate jurisdiction over other judicial bodies, and cannot exercise
appellate mandamus over other courts.”) (citing Lewis v. Green, 629 F. Supp. 546, 553 (D.D.C.
1986); accord Atchison v. U.S. Dist. Courts, 240 F. Supp. 3d 121, 126 n.6 (D.D.C. 2017) (“It is a
well-established principle that a district court can neither review the decisions of its sister court
nor compel it to act.”), Plaintiffs recourse lies, if at all, in the Court of Appeals of Virginia and
ultimately in the United States Supreme Court. See 28 U.S.C. § 1257; Stanton v. D.C. Court of
Appeals, 127 F.3d 72, 75 (D.C. Cir. 1997) (Section 1257 “channels directly to the Supreme
Court all federal review of judicial decisions of state (and D.C.) courts of last resort”)
(parenthesis in original)). Consequently, this case will be dismissed. A separate Order

accompanies this Memorandum Opinion.

_/s/
KETANJI BROWN JACKSON

DATE: November 4, 2020 United States District Judge

 

' The Eleventh Amendment provides in pertinent part: “[t]he judicial power of the United States
shall not be construed to extend to any suit in law or equity, commenced or prosecuted against one
of the United States by Citizens of another State.” U.S. Const. amend. XI. It is long settled that
this amendment applies equally to suits brought by citizens against their own states. See Edelman
vy. Jordan, 415 U.S. 651, 662-63 (1974); Hans v. Louisiana, 134 US. 1, 13-15 (1890).
